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                                                          October 4, 2022

     VIA ECF

     Honorable Robert Kugler, U.S.D.J.                                 Honorable Thomas I. Vanaskie (Ret.)
     U.S. District Court - District of New Jersey                      Special Master
     Mitchell S. Cohen Building & US                                   Stevens & Lee
     Courthouse                                                        1500 Market St., East Tower, Suite 1800
     1 John F. Gerry Plaza, Courtroom 4D                               Philadelphia, Pennsylvania 19103-7360
     4th and Cooper Streets
     Camden, New Jersey 08101

                Re:        In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                           Case No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Kugler and Judge Vanaskie:

                Please accept this letter on behalf of Plaintiffs in advance of the October 6, 2022 case

     management conference.

          1. Case Management Issues

                A. TPP Trial Plan

                The parties met and conferred on multiple occasions regarding the TPP bellwether trial and

     agree that MSP, on behalf of assignors Emblem and Summacare, will be the designated TPP

     Plaintiff against Defendants ZHP, Teva and Torrent. Plaintiffs are prepared to proceed under the

     laws of all states, or such fewer states as the Court may direct, in which Emblem and Summacare
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 made reimbursements for ZHP/TEVA/TORRENT products, on all claims asserted on behalf of

 TPPs in the operative complaint. Defendants appear to agree with the identification of these

 assignors and claims but wish to have “briefing” and “clarification” from the Court as to perceived

 conflict of laws questions that Defendants believe are unresolved. Plaintiffs believe that to

 whatever extent “clarification” or additional rulings on conflict of laws are needed, that this can

 be addressed by the Court at a more practical time closer to trial and after a ruling on class

 certification when the parties will be better informed about the class(es) and claims that may be

 certified under Rule 23.

        B. TPP Discovery

        MSP has met and conferred with defendants and is willing to produce additional documents

 that could be relevant to the upcoming bellwether trial. To that end, and as set forth in more detail

 in MSP’s October 4, 2022 letter to the Defendants (Exhibit 1 attached hereto), MSP has agreed to

 produce, to the extent they are in MSP’s possession, custody, or control:

        1. Documents supporting MSP’s damages calculations;
        2. The minutes of P&T committee meetings relating to the placement of Valsartan
           drugs;
        3. Cost components of the Valsartan drugs;
        4. Contracts with CMS; and,
        5. Copies of formularies.
 MSP, however, objects to the remainder of defendants’ document requests because they are not

 relevant, are not proportional to the needs of the case, are duplicative of discovery defendants

 already sought, seek highly confidential proprietary information, and information that is not in

 MSP’s possession, custody, or control. Those categories of documents include:

        6. CMS bids;
        7. Internal reporting on actual and projected spend;
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         8. Subsidy reimbursement and rebate data;
         9. Post recall and utilization and replacement data;
         10. Diagnosis codes for the Valsartan prescription fills; and,
         11. Unredacted PBM contracts.
 MSP is hopeful that Defendants will agree, is prepared to further meet and confer, and will be

 prepared to more fully address each of those specific requests at the hearing set for October 6,

 2022.

         C. CMO 29

         The parties have discussed the expert report and expert discovery deadlines set forth in

 CMO 29. Defendants interpret the Order to direct that the expert report and discovery deadlines

 apply only to the parties selected for the first trial - including defendants ZHP, Teva, and Torrent,

 and that no deadlines have yet been set with regard to the other manufacturers, Hetero, Mylan, and

 Aurobindo. Plaintiffs agree that it would be more efficient for the parties to focus on the parties

 in the first trial for the deadlines currently set, and to set a second deadline applicable to the other

 manufacturers 90 days later. This will allow the parties the time needed to complete these expert

 reports, and to focus primarily on the expert discovery for the first trial, while maintaining a

 schedule to move the claims forward against the other manufacturers for potential future trials.

     2. Update on Motion to Seal

         The parties continue to negotiate in good faith on the Motion to Seal related to the Class

 Certification briefing, and associated Daubert briefings for Class Certification experts. The Parties

 have completed all initial meet-and-confers and have begun the process of providing proposed

 redactions to documents and transcripts for certain documents and depositions.
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         It is Plaintiffs’ intention that by the next Discovery CMC before Judge Vanaskie, the parties

 will be able to provide a definitive briefing deadline for any documents for which there is still a

 dispute between the parties regarding sealing.

    3. Losartan/Irbesartan Core Discovery Status Report

         Productions by various defendants have begun. Plaintiffs have met and conferred with any

 defendants who have asked and at this time expect that Defendants will all timely complete their

 core discovery productions. Plaintiffs have been approached by ZHP, who indicated it may have

 difficulty producing testing information as to certain batches. However, at this time, ZHP has not

 provided sufficient information for Plaintiffs to determine that the production should be narrowed

 in any respect.

    4. PFS Deficiencies and Orders to Show Cause

         Plaintiffs will be prepared to address this issue during the case management conference.

                                        Respectfully,



                                        ADAM M. SLATER

 Encl.

 Cc: All counsel of record (via ECF)
